           Case 2:23-ap-01150-SK Doc 33 Filed 10/28/23                                            Entered 10/28/23 21:16:50                        Desc
                               Imaged Certificate of Notice                                       Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Central District of California
Vago,
         Plaintiff                                                                                                     Adv. Proc. No. 23-01150-SK
Klein,
         Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0973-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Oct 26, 2023                                               Form ID: pdf002                                                            Total Noticed: 3
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 28, 2023:
Recip ID                 Recipient Name and Address
pla                    + Erica Vago, c/o Goe Forsythe & Hodges LLP, 17701 Cowan, Suite 210, Building D, Irvine, CA 92614-6840
pla                    + Joseph Vago, c/o Goe Forsythe & Hodges LLP, 17701 Cowan, Suite 210, IRVINE IRVINE, CA 92614-6840
dft                    + Leslie Klein, 322 N. June Street, Los Angeles, CA 90004-1042

TOTAL: 3

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
intp                           Courtesy NEF

TOTAL: 1 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Oct 28, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on October 26, 2023 at the address(es) listed
below:
Name                               Email Address
Brian A Procel
                                   on behalf of Plaintiff Erica Vago bprocel@millerbarondess.com rdankwa@millerbarondess.com;docket@millerbarondess.com

Clarisse Young
                                   on behalf of Interested Party Courtesy NEF youngshumaker@smcounsel.com levern@smcounsel.com

Michael I. Gottfried
                                   on behalf of Interested Party Courtesy NEF mgottfried@elkinskalt.com
                                   cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com
          Case 2:23-ap-01150-SK Doc 33 Filed 10/28/23                                 Entered 10/28/23 21:16:50                 Desc
                              Imaged Certificate of Notice                            Page 2 of 4
District/off: 0973-2                                         User: admin                                                        Page 2 of 2
Date Rcvd: Oct 26, 2023                                      Form ID: pdf002                                                   Total Noticed: 3
Nikko Salvatore Stevens
                             on behalf of Interested Party Courtesy NEF nikko@cym.law mandi@cym.law

Reem J Bello
                             on behalf of Plaintiff Erica Vago rbello@goeforlaw.com kmurphy@goeforlaw.com

Reem J Bello
                             on behalf of Plaintiff Joseph Vago rbello@goeforlaw.com kmurphy@goeforlaw.com

Robert P Goe
                             on behalf of Plaintiff Erica Vago kmurphy@goeforlaw.com rgoe@goeforlaw.com;goeforecf@gmail.com

Robert P Goe
                             on behalf of Plaintiff Joseph Vago kmurphy@goeforlaw.com rgoe@goeforlaw.com;goeforecf@gmail.com

United States Trustee (LA)
                             ustpregion16.la.ecf@usdoj.gov


TOTAL: 9
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